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 7

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 9

10                                IN THE UNITED STATES DISTRICT COURT
11                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                            Case No.: CR 20–138 JD
15                   Plaintiff,                            DEFENDANT'S SENTENCING
                                                           MEMORANDUM
16           v.
                                                           Court:           Courtroom 11, 19th Floor
17    ESMUN MOYSES MORAL-RAUDALES,                         Hearing Date:    June 29, 2020
18                   Defendant.                            Hearing Time:    1:00 p.m.

19
                                             INTRODUCTION
20
           Defendant Moyses Raudales submits the following sentencing memorandum in advance of his
21
     change of plea and sentencing on June 29, 2020 at 1:00 p.m. Mr. Raudales waived indictment, and
22
     will plead guilty to the sole count of the Information (Docket No. 8), Distribution of Cocaine Base in
23
     violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C). The factual basis for the plea is the hand-to-hand
24
     sale of four rocks of crack cocaine in exchange for $17. Undersigned counsel has discussed with Mr.
25
     Raudales his right to have a full Presentence Report prepared, and he wishes to waive that right and
26
     proceed with the limited report ordered by the Court.
27
           Pursuant to the plea agreement, the government will request a sentence of four months as long
28
     as Mr. Raudales accepts responsibility. Mr. Raudales asks that the Court impose a sentence of “credit
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 1   for time served” to be followed by a three-year term of supervised release. Mr. Raudales has been in
 2   federal custody since February 24, 2020.
 3                                        FACTUAL BACKGROUND
 4   I.    Offense Conduct and Procedural Background

 5         On July 23, 2019, Mr. Raudales was standing in a plaza just off of 7th Street in San Francisco

 6   when he was approached by a San Francisco Police Department undercover officer who asked to

 7   purchase four rocks of crack cocaine for $17. The undercover officer handed Mr. Raudales one ten

 8   dollar bill, one five dollar bill, and two one dollar bills, and Mr. Raudales reached into a bag

 9   containing crack cocaine and produced four rocks for the officer. The undercover officer then gave an

10   arrest signal, and Mr. Raudales was arrested by SFPD officers. After processing, Mr. Raudales was

11   released.

12         On August 2, 2019 a Complaint (Docket No. 1) was filed alleging distribution of cocaine base

13   in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C). Mr. Raudales was arrested on February 24, 2020.

14   After making an initial appearance, he waived his right to a detention hearing, and consented to

15   proceeding by Information in order to resolve the matter. He has been detained in the custody of the

16   Marshals at the Santa Rita Jail since his arrest on February 24. At the change of plea and sentencing

17   hearing on June 29th, Mr. Raudales will have been in custody for four months and six days.

18         Mr. Raudales has one prior conviction, a San Francisco conviction for Accessory to a Felony in

19   violation of California Penal Code § 32. He suffered that conviction on October 29, 2018, and was

20   sentenced to 120 days in jail. While the modified presentence report has not yet been completed, it is

21   undersigned counsel’s belief that he did not suffer further arrests or convictions subsequent to his

22   July 23, 2019 arrest that led to this case.

23   II.   Mr. Raudales’s Personal Circumstances

24         Mr. Raudales is 24 years old, and is a native of Honduras. He was raised in Tegucigalpa and

25   lived with his parents until they were driven from their home by threats from the MS-13 gang. The

26   family lost their home and moved to a small town outside of the capital city. Mr. Raudales believes

27   the home was taken over by gang members, and to his knowledge nobody in his family has gone back

28   out of fear of retaliation from MS-13. According to the United Nations Refugee Agency, this

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 1   displacement by threat of violence has happened to thousands of Hondurans who ran afoul of the
 2   gangs that control their neighborhoods. See “Gangs Drive Hondurans From Their Homes and Land,”
 3   James Fredrick, September 8, 2017.1 Following this displacement, Mr. Raudales’s parents sent him
 4   and two of his brothers to the United States to avoid gang violence and to work to send money home
 5   for the family’s survival. When Mr. Raudales arrived in the San Francisco Bay Area in 2018, he was
 6   recruited by a drug trafficking organization that employs a number of Honduran refugees to sell drugs
 7   in San Francisco’s Tenderloin neighborhood. This organization provided lodging in Oakland and
 8   payment, and in exchange the street level dealers would take BART to San Francisco every day to
 9   sell drugs. In addition to selling, Mr. Raudales also began using crack cocaine, and was using heavily
10   at the time of his arrest.
11         After his arrest in this case, he was able to find work with small construction crews in San
12   Francisco and Oakland, which provided him a less dangerous source of income. He was also able to
13   stop using cocaine several months after he stopped selling it. What money he could save he sent to
14   his parents in Honduras.
15                                               ARGUMENT
16   I.    A Sentence of “Time Served” is Sufficient, But Not Greater Than Necessary to Satisfy the
           Sentencing Factors Set Forth In Section 3553(a)
17
           A “time served” sentence is appropriate in Mr. Raudales’s case because of his personal
18
     circumstances, his relative position in the drug organization, the conditions of his pretrial detention,
19
     his early acceptance of responsibility, the devastating immigration consequences this conviction will
20
     cause, and because such a sentence would avoid unwarranted disparity with other similarly situated
21
     defendants.
22
           A.      Mr. Raudales’s Personal Circumstances Warrant a Sentence of Time Served
23
           When the Court weighs an appropriate sentence, Mr. Raudales’s history and characteristics
24
     should also be afforded significant weight (18 U.S.C. § 3553(a)(1)). “Evidence about the defendant’s
25
     background and character is relevant because of the belief, long held by this society, that defendants
26
27

28   1
      Published by the United Nations High Commissioner for Refugees. Available at
     https://www.unhcr.org/news/stories/2017/9/59b10d4f4/gangs-drive-hondurans-homes-land.html
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 1   who commit criminal acts that are attributable to a disadvantaged background, or to emotional and
 2   mental problems, may be less culpable than defendants who have no such excuse.” California v.
 3   Brown, 479 U.S. 538, 545 (1987) (O’Connor, J., concurring).
 4         Here, Mr. Raudales experienced significant personal trauma when his family was driven from
 5   his childhood home by violent gangs. Further, he and his brothers were sent to the United States to
 6   earn money to help support his parents, as well as to avoid violence at the hands of the gangs that
 7   control much of urban Honduras.
 8         B.      Mr. Raudales Occupied the Lowest Possible Rung of the Drug Trafficking
                   Organization
 9
           As is evidenced by the offense conduct, Mr. Raudales was at the absolute bottom of the drug
10
     trafficking organization, having been recruited to conduct hand-to-hand sales of small amounts of
11
     drugs. That he was selling individual rocks of crack cocaine for five dollars (or less, apparently) per
12
     rock speaks for itself.
13
           C.      Mr. Raudales Acted Quickly to Accept Responsibility
14
           While his change of plea will happen four months after his arrest, that is no fault of Mr.
15
     Raudales’s. He sought to resolve his case immediately, as is evidenced by his waiver of indictment.
16
     The delay in resolution has been a result of the logistical issues presented by the COVID-19
17
     pandemic.
18
           D.      Mr. Raudales Will Suffer Heavy Immigration Consequences From This
19                 Conviction
20         As a result of this conviction, a drug trafficking aggravated felony under INA § 101(a)(43)(B),
21   Mr. Raudales faces sure deportation, as he will be barred from almost all forms of relief in
22   immigration court. He also faces a permanent bar to legal re-entry to the United States.
23   Additionally, were he to re-enter without permission, he would face a significantly increased penalty
24   under 8 U.S.C. § 1326, increasing the statutory maximum to 20 years. This, for the sale of four rocks
25   of crack cocaine, is an extraordinary penalty standing on its own
26         E.      The Harsh Conditions of Mr. Raudales’s Pretrial Detention Warrant a Lower
                   Sentence
27
           At sentencing, Mr. Raudales will have spent more than four months in custody at Santa Rita
28

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 1   Jail during a global pandemic. This will be double the amount of time Mr. Raudales spent in custody
 2   for his prior conviction (120 days at half time). Since the outset of the COVID-19 pandemic, Santa
 3   Rita Jail has suspended all anti-recidivism programming, and has been in varying states of quarantine
 4   and lockdown. While these conditions are the same for all current federal pre-trial detainees in this
 5   district, this has resulted in significantly harsher conditions of pretrial detention than would ordinarily
 6   be experienced.
 7            F.      A Time Served Sentence Would Be In Keeping With Comparable Tenderloin Drug
                      Sentences
 8

 9            As the Court is likely aware, Mr. Raudales is one of many defendants arrested by the San
10   Francisco Police Department and brought into Federal Court to face more severe consequences as
11   part of the United States Attorney’s “Federal Initiative For The Tenderloin.”2
12            While the Court must avoid unwarranted sentencing disparities among defendants with similar
13   records convicted of similar conduct, the Ninth Circuit has explained sentencing courts must also
14   “avoid ‘unwarranted similarities among [defendants] who were not similarly situated.’” United
15   States v. Amezcua-Vasquez, 567 F.3d 1050, 1058 (9th Cir. 2009) (quoting Gall, 552 U.S. at 55
16   (emphasis and brackets in original)); see also 18 U.S.C. § 3553(a)(6).
17            As discussed above, Mr. Raudales is at the bottom of the Tenderloin drug sale food chain. For
18   the Court’s benefit, the Federal Defender has compiled the following chart of federal sentencings
19   from hand-to-hand drug sales in the Tenderloin. Mr. Raudales submits that the sentence
20   recommended by the parties would avoid unwarranted sentencing disparity with other defendants,
21   including those who have more serious criminal histories.
22
         Name                  Case No.    Drug            Sale   CHC   USSG    Sentence   Priors
23
                                                           Amt.         Range
24       Wilson Acosta-Valle   19-560-VC   Crack, heroin          II    8-14    111 days   Federal drug case
         Santos Aguilar        19-454-VC   Heroin, meth    $20    II    15-21   152 days   Illegal reentry
25       Brayan Arteaga        19-426-     Crack           $16    II    8-14    37 days
                               WHO
26
27

28   2
       https://www.justice.gov/usao-ndca/pr/us-attorney-announces-federal-initiative-tenderloin-new-
     federal-law-enforcement
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 1    Wilfredo Cabrera    19-452-      Heroin           $17   II    8-14     132 days   4 year drug
                          WHO                                                           sentence; 6
 2                                                                                      deports
      Welbur Cardona-     19-541-      Heroin, crack    $20   III   24-30    12         2 illegal entries
 3
      Navarro             WHO                                                months +
 4                                                                           1 day
      Yerlyn Cruz-Ortiz   19-453-SI    Crack            $16   V     21-27    15 mo      On supervised
 5                                                                                      release for illegal
                                                                                        reentry
 6    Ronny Dixson        19-527-      Heroin                 III   18-24    12         8 drug felonies,
                          WHO                                                months +   including sales
 7                                                                           1 day
      Jesus Flores        19-429-SI    Cocaine,         $15   I     10-16    118 days   2 deports
 8
                                       heroin, meth
 9    David Lopez Mejia   19-661-VC    Crack            $20   III   15-21    125 days   2 drug sales
      Ismael Martinez     19-650-RS    Crack, meth            I     0-6      48 days
10    David Medina-       20-26-RS     Crack            $20   III   10-16    83 days
      Guerrero
11    Pedro Muncia        19-428-      Heroin, crack,   $20   II    8-14     126 days   Federal drug
                          CRB          meth                                             case, deport
12
      Jose Ramos-Varela   19-713-      Meth             $20   I     10-16    57 days
13                        EMC
      Anival Ramos-       19-503-      Heroin, crack    $20   I     6-12     111 days
14    Velasquez           EMC
      Delmar Rosales-     19-536-VC    Fentanyl         $20   III   15-21    180 days
15    Avila
      Aaron Servellon     19-689-RS    Crack, heroin,   $25   I     12-18    102 days
16
                                       meth, fentanyl
17    Ristir Trejo        19-535-RS    Fentanyl,        $20   II    21-27    140 days
                                       crack, heroin
18    Luis Vargas-Valle   19-386-RS    Crack            $21   II    8-14     6 months   32 month illegal
                                                                                        reentry sentence
19    Kelier Velasquez-   19-483-      Crack            $16   I     6-12     125 days
      Jossel              EMC
20    Marco Velasquez-    19-456-      Crack            $17   I     6-12     120 days
      Trinidad            WHO
21
      Corey Wyatt         19-396-RS    Alprazolam       $20   VI    6-12     99 days    Involuntary
22                                                                                      manslaughter,
                                                                                        assault with
23                                                                                      deadly weapon

24
                                                  CONCLUSION
25
           For the foregoing reasons, Mr. Raudales respectfully requests that the Court impose a sentence
26
     of four months, “credit for time served,” to be followed by three years of supervised release subject to
27
     the terms set forth in the Plea Agreement.
28

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 1

 2
          Dated:   June 15, 2020                  Respectfully submitted,
 3
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 5
                                                            /S
 6                                                GRAHAM ARCHER
                                                  Assistant Federal Public Defender
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